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                        UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT

MARIO CERAME                            :      CIVIL NO. 3:21-CV-01508 (JCH)
    v.                                  :

LAMONT, ET AL.                          :      JUNE 16, 2022

                                   APPEARANCE

      TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

      Please enter my appearance in addition to Assistant Attorney General Janelle

Medeiros as counsel for the defendants in the above-captioned case.

      Dated at Hartford, Connecticut, this 16th day of June, 2022.


                                        DEFENDANTS
                                        Lamont and Colangelo


                                        WILLIAM TONG
                                        ATTORNEY GENERAL



                                     BY:_/s/ Lisamaria T. Proscino___________
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                                      CERTIFICATION

       I hereby certify that on June 16, 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court's electronic filing system. Parties may access this filing through the Court's system.




                                           _/s/ Lisamaria T. Proscino____________
                                           Lisamaria T. Proscino
                                           Assistant Attorney General




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